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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

USOR SITE PRP GROUP,                             §
                                                 §
               Plaintiff,                        §
                                                 §
                       v.                        §      CIVIL ACTION NO. 4:14-cv-02441
                                                 §
A&M CONTRACTORS, INC., et al.,                   §
                                                 §
               Defendants.                       §

             PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
                 AGAINST DEFENDANT CITY OF PASADENA, TEXAS

         Plaintiff USOR Site PRP Group (“Plaintiff” or “USOR Site PRP Group”), by and

through counsel and pursuant to Federal Rule of Civil Procedure 56, respectfully moves for

partial summary judgment as to the City of Pasadena’s liability under CERCLA and the

TSWDA, with allocation of the City of Pasadena’s equitable share of response costs to be

determined at a later date.


Dated:    July 20, 2015                        Respectfully submitted,

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                        NATURE AND STAGE OF PROCEEDINGS

       Plaintiff filed its Complaint on August 24, 2014 (Dkt. No. 1) seeking contribution, cost

recovery and declaratory relief under the Comprehensive Environmental Response,

Compensation and Liability Act of 1980, as amended, 42 U.S.C. §§ 9601 et seq. (“CERCLA”)

against all defendants including Defendant City of Pasadena, Texas (“City of Pasadena”), cost

recovery under the Texas Solid Waste Disposal Act, TEX. HEALTH & SAFETY CODE ANN. §§

361.001 et seq. (“TSWDA”) against many defendants including City of Pasadena, and breach of

contract claims against certain defendants, for response costs incurred and to be incurred by the

USOR Site PRP Group for activities conducted in response to the release or threatened release of

hazardous substances at the U.S. Oil Recovery Superfund Site (“USOR Site”). The City of

Pasadena owned and operated a sewage treatment plant commonly known as “Old Vince” at the

200 N. Richey portion of the USOR Site from approximately 1945 until U.S. Oil Recovery’s

purchase of the 200 N. Richey portion of the USOR Site in 2009. Therefore, the USOR Site PRP

Group alleges the City of Pasadena is liable under CERCLA Section 107(a) and TSWDA

Section 361.271 as a former “owner” and “operator” of a portion of the USOR Site at a time

when hazardous substances were released or threatened to be released from the USOR Site and

solid wastes were processed, stored or disposed of at the USOR Site.

       On April 22, 2015, the City of Pasadena filed a Motion to Dismiss the Complaint Under

Rule 12(b)(6) for Failure to State a Claim Upon Which Relief Can Be Granted (Dkt. No. 728).

The USOR Site PRP Group filed a Motion for Extension of Time to Respond to Defendant City

of Pasadena’s Motion to Dismiss (Dkt. No. 817) on May 11, 2015 seeking an extension to and

including August 13, 2015. The Court entered an Order for Expedited Response on May 12,

2015 (Dkt. No. 877), requiring the City of Pasadena to respond to the Motion for Extension by
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May 22, 2015. The City of Pasadena filed its Response in Partial Opposition to Plaintiff’s

Motion for Extension of Time on May 13, 2015 (Dkt. No. 907). The Court entered an Order

granting the Motion for Extension in part on May 18, 2015 (Dkt. No. 940), allowing the USOR

Site PRP Group to and including June 13, 2015 to file its response to the City of Pasadena’s

Motion to Dismiss. The USOR Site PRP Group filed its Response in Opposition to the Motion to

Dismiss on June 13, 2015 (Dkt. No. 1277). The Motion to Dismiss is still pending.

                        SUMMARY OF ISSUES AND ARGUMENT

       The USOR Site PRP Group respectfully submits this Memorandum in Support of Motion

for Partial Summary Judgment. The USOR Site PRP Group seeks partial summary judgment as

to the City of Pasadena’s liability under CERCLA and the TSWDA, with allocation of the City

of Pasadena’s equitable share of response costs to be determined at a later date. The Court should

grant the USOR Site PRP Group’s motion for partial summary judgment as to the City of

Pasadena’s liability at the USOR Site because there exists no genuine dispute as to material facts

concerning the City of Pasadena’s liability under CERCLA and the TSWDA.

                           STATEMENT OF MATERIAL FACTS

       1.      The USOR Site consists of both the US Oil Recovery facility located at 400 N.

Richey Street and the MCC Recycling facility located at 200 N. Richey Street in Pasadena,

Texas. See Administrative Settlement Agreement and Order on Consent for Removal Action,

U.S. EPA Region 6, CERCLA Docket No. 06-10-11, effective August 25, 2011 (hereinafter

“Removal Action AOC”), Definition “p.” at p.3, Finding of Fact “a.” at p.4, and Conclusion of

Law and Determination “a.” at p.7 (Exh. A hereto).




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       2.      There has been an actual or threatened release of hazardous substances from the

USOR Site. See Removal Action AOC, Findings of Fact “k.” – “r.” at p.6, and Conclusion of

Law and Determination “b.” and “e.” at p.7 (Exh. A hereto).

       3.      The USOR Site PRP Group has incurred and will continue to incur response costs

as a result of the actual release or threatened release of hazardous substances at the USOR Site.

See July 17, 2015 Affidavit of Joe Biss (Exh. C hereto); see generally Removal Action AOC

(Exh. A hereto); Administrative Settlement Agreement and Order on Consent for Remedial

Investigation/Feasibility Study, U.S. EPA Region 6, CERCLA Docket No. _____, effective May

14, 2015 (hereinafter “AOI-1 RI/FS AOC”) (Exh. B hereto).

       4.      The City of Pasadena is a municipality, which is a “person” as defined in Section

101(21) of CERCLA, 42 U.S.C. § 9601(21).

       5.      U.S. EPA (“EPA”) sent the City of Pasadena a March 12, 2013 general notice

letter notifying the City of Pasadena of its potential CERCLA liability at the USOR Site and

EPA and Plaintiff’s ongoing removal action activities; requesting that the City of Pasadena

negotiate in good faith a settlement agreement with EPA to perform a Remedial Investigation

and Feasibility Study (“RI/FS”) at the USOR Site; and requesting that the City of Pasadena

provide information and documents to EPA pursuant to CERCLA Section 104(e). See March 12,

2013 EPA General Notice Letter with 104(e) Information Request questions to City of Pasadena

(Exh. D hereto).

       6.      The City of Pasadena responded to EPA’s CERCLA 104(e) Information Request

by letter dated June 14, 2013 from Robin Green, P.E., Public Works Director for the City of

Pasadena (hereinafter “City of Pasadena’s EPA Information Request Response”) (Exh. E hereto).




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          7.    The City of Pasadena owned the 200 N. Richey portion of the USOR Site from

1944 to 2009. See City of Pasadena’s EPA Information Request Response at pp.1-2 (Exh. E

hereto).

          8.    The City of Pasadena operated a wastewater treatment plant commonly known as

“Old Vince” at the 200 N. Richey portion of the USOR Site from 1944 until March 1994. Id. at

pp.2-3.

          9.    Old Vince comprised “land, structures, appurtenances, and other improvements”

at the 200 N. Richey portion of the USOR Site, including two clarifiers, two oxygen digesters, an

oxygen activation sludge unit, an oxygen plant, a chlorination building, a lift station, a gravity

thickener, an aerobic digester, a belt filter press building, a pump control room, a chlorine

contact tank (basin/concrete containment area), a high-rate trickling filter, oil-water separator,

primary clarifier, final clarifier, and two lift stations. See Removal Action AOC, Findings of Fact

“e.” at p.5 (Exh. A hereto).

          10.   From March 1, 1994 through April 7, 2004, the City of Pasadena still owned the

200 N. Richey portion of the USOR Site and contracted with Severn Trent Services to operate

Old Vince. See City of Pasadena’s EPA Information Request Response at pp.2-3 (Exh. E hereto).

          11.   Hazardous substances were used in the course of treating domestic wastewater

during the City of Pasadena’s ownership of the 200 N. Richey portion of the USOR Site and

during the operations of Old Vince by the City of Pasadena and Severn Trent Services. Id. at 4-6.

          12.   Domestic wastewater containing hazardous substances was spilled and/or released

at various times from Old Vince and the 200 N. Richey portion of the USOR Site between 1944

and 2004 when the City of Pasadena owned the 200 N. Richey portion of the USOR Site and

from 1944 to 1994 when the City of Pasadena operated Old Vince. Id. at 8-10.




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       13.     The hazardous substances contained in the domestic wastewater spilled and/or

released from Old Vince operations from 1944 to 2004 included copper, lead and zinc. See

February 20, 2014 letter from Robin Green, P.E., Public Works Director, City of Pasadena, to

EPA (hereinafter “City of Pasadena Feb. 20, 2014 Letter to EPA”), at p.2 (Exh. F hereto); see

also 40 CFR 302.4 – Designation of hazardous substances (Exh. G hereto).

       14.     Between April 2002 and July 2003, at a time period when the City of Pasadena

owned the 200 N. Richey portion of the USOR Site, there were several exceedences of

hazardous substances such as ammonia (NH3) and chlorine in the effluent discharged and/or

released from the Old Vince operations. See City of Pasadena’s EPA Information Request

Response, at pp.8-10 (Exh. E hereto); TCEQ Agreed Order, Docket No. 2003-1017-MWD-E,

effective May 11, 2005 (hereinafter “TCEQ Agreed Order”) (Exh. H hereto); see also 40 CFR

302.4 – Designation of Hazardous Substances (Exh. G hereto).

       15.     Municipal wastewater treated at Old Vince from 1944 to 2004 contained at least

the following hazardous substances, as evidenced by sample analyses of effluent samples

collected by the City of Pasadena as part of its NPDES permitting process during the following

years: 1990 – copper, nickel, phenols, toluene and zinc; 1997 – aluminum, barium, zinc; 2001 -

aluminum, barium, chloroform, 1,4-dichlorobenzene, phenols and zinc. See various City of

Pasadena effluent date reports from 1990, 1997 and 2001 (combined into Exh. I hereto); see also

40 CFR 302.4 – Designation of Hazardous Substances (Exh. G hereto).

       16.     From 1944 until at least 1983 when a sludge thickener and belt presses were

installed at Old Vince, sludges that were generated by Old Vince operations were managed in

drying beds placed directly on soils, allowing liquid in the sludges to either evaporate or infiltrate




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into the soils under the drying beds. See historical map of Old Vince drying bed locations (Exh. J

hereto).

       17.     Testing of the sludges generated by Old Vince during the following years showed

that the historical sludges generated by Old Vince operations contain at least the following

hazardous substances: 1996 – barium, benzene, chromium, copper, cyanide, lead, nickel, phenols

and zinc; 1998 – lindane (gamma-BHC) #2 and methyl ethyl ketone; 2000 – barium and

selenium. See various City of Pasadena sludge data reports from 1996, 1998 and 2000 (combined

into Exh. K hereto); see also 40 CFR 302.4 – Designation of Hazardous Substances (Exh. G

hereto).

       18.     Additional investigations and sampling performed by the USOR Site PRP Group

as a result of the City of Pasadena’s refusal to cooperate with EPA or the USOR Site PRP Group

reveals that the City of Pasadena left waste materials and sludges at the 200 N. Richey portion of

the USOR Site from Old Vince operations, which contain the following hazardous substances:

aluminum; arsenic; barium; cadmium; chromium; copper; lead; nickel; selenium; silver and zinc.

See July 22, 2014 Report entitled “Old Vince Bayou Wastewater Treatment Plant Residual

Materials Sampling” (Exh. L hereto); see also 40 CFR 302.4 – Designation of Hazardous

Substances (Exh. G hereto).

                                    STANDARD OF REVIEW

       Summary judgment is proper “if the movant shows that there is no genuine dispute as to

any material fact and the movant is entitled to judgment as a matter of law.” Rogers v. Bromac

Title Services, L.L.C., 755 F.3d 347, 350 (5th Cir. 2014) (citing FED. R. CIV. P. 56(a)). Summary

judgment is proper “if the pleadings, depositions, answers to interrogatories, and admissions on

file, together with the affidavits, if any, show that there is no genuine issue as to any material fact




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and that the moving party is entitled to a judgment as a matter of law.” Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 248 (1986) (quoting FED. R. CIV. P. 56(c)). Issues are “‘genuine’ only

if they require resolution by a trier of fact.” Corsair v. Stapp Towing Co., Inc., 228 F. Supp. 2d

795, 797 (S.D. Tex. 2002). (citing Anderson, 477 U.S. at 250). “A genuine dispute as to a

material fact exists ‘if the evidence is such that a reasonable jury could return a verdict for the

nonmoving party.’” Rogers, 755 F.3d at 350. (citing Anderson, 477 U.S. at 248). The Court

must “construe[] all facts and inferences in the light most favorable to the nonmoving party . . . .

[b]ut [s]ummary judgment may not be thwarted by conclusional allegations, unsupported

assertions, or presentation of only a scintilla of evidence.” Rogers, 755 F.3d at 350. (internal

citations and quotations omitted). “The mere existence of some alleged factual dispute between

the parties will not defeat an otherwise properly supported motion for summary judgment.”

Corsair, 228 F. Supp. 2d at 797.

                                           ARGUMENT

I.      The USOR Site PRP Group Is Entitled to Judgment as a Matter of Law on the City
        of Pasadena’s Liability Under CERCLA

        The City of Pasadena’s liability under CERCLA is governed by Section 107(a)(2), which

defines “covered persons” to include, in relevant part:

        “any person who at the time of disposal of any hazardous substance owned or
        operated any facility at which such hazardous substances were disposed of . . .
        from which there is a release, or a threatened release which causes the incurrence
        of response costs, or a hazardous substance, shall be liable . . . .”

42 U.S.C. § 9607(a)(2). Thus, to prevail on partial summary judgment as to the City of

Pasadena’s CERCLA liability, the USOR Site PRP Group need only demonstrate four liability

elements: (1) the USOR Site is a facility, at which (2) there was a release or threatened release,

which (3) caused incurrence of response costs, and that (4) the City of Pasadena either “owned”

or “operated” Old Vince when hazardous substances were disposed there. See, e.g., Uniroyal


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Chemical Co. v. Deltech Corp., 160 F.3d 238, 242–43 (5th Cir. 1998) as modified on rehr’g (Jan.

8, 1999); Asarco LLC v. Cemex, Inc., 21 F. Supp. 3d 784, 803 (W.D. Tex. 2014) (citing Amoco

Oil Co. v. Borden, Inc., 889 F.2d 664, 668 (5th Cir. 1989)).

       First, the USOR Site, including the 200 N. Richey portion, is a facility as defined by

CERCLA. CERCLA defines “facility” broadly to mean “any building, structure, installation,

equipment” and so on, or “any site or area where a hazardous substance has been deposited,

stored, disposed of, or placed, or otherwise come to be located . . .” 42 U.S.C. § 9601(9). EPA

has made this simple factual determination in both the Removal Action AOC and the AOI-1

RI/FS AOC. Second, EPA has determined there has been a release or threatened release of

hazardous substances at the USOR Site, including actual or threatened releases from the 200 N.

Richey portion of the Site. Third, such actual or threatened releases have caused the incurrence

of response costs by the USOR Site PRP Group. The USOR Site PRP Group members are the

respondents to both the Removal Action AOC and the AOI-1 RI/FS AOC and have and will

continue to incur millions of dollars of response costs to comply with both AOCs. See July 17,

2015 Affidavit of Joe Biss (Exh. C hereto); see generally Removal Action AOC and AOI-1

RI/FS AOC (Exhs. A and B hereto).

       This leaves the final element of liability, which is whether the City of Pasadena owned or

operated the 200 N. Richey portion of the USOR Site at a time when any hazardous substances

were released from 60 years of Old Vince operations. The City of Pasadena readily admitted to

EPA it owned the 200 N. Richey portion of the USOR Site from 1944 to 2009. See City of

Pasadena’s EPA Information Request Response at pp.1-2 (Exh. E hereto). The City of Pasadena

also readily admitted to EPA it operated Old Vince at the 200 N. Richey portion of the Site from

1944 to 1994, when it contracted with Severn Trent Services to continue to operate Old Vince




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for an additional 10 years until 2004. Id. at pp.2-3. This just leaves the question of whether any

hazardous substances were released from Old Vince during the 60 years it operated from 1944 to

2004. The record is already replete with admissions by the City of Pasadena and documents

proving that at least some hazardous substances, as defined by CERCLA, were released from

Old Vince operations from 1944 to 2004:

   •   Domestic wastewater containing hazardous substances was spilled and/or released at

       various times from Old Vince operations from 1944 to 2004. See City of Pasadena’s EPA

       Information Request Response at pp.8-10 (Exh. E hereto);

   •   The City of Pasadena readily admitted to EPA that such domestic wastewater contained

       or at least included copper, lead and zinc, all of which are hazardous substances as

       defined by CERCLA. See City of Pasadena Feb. 20, 2014 Letter to EPA, at p.2 (Exh. F

       hereto); see also 40 CFR 302.4 – Designation of Hazardous Substances (Exh. G hereto);

   •   Between at least April 2002 and July 2003 when the City of Pasadena owned the 200 N.

       Richey portion of the USOR Site, there were several exceedences of ammonia and

       chlorine (both hazardous substances as defined by CERCLA) in the effluent discharged

       and/or released from the Old Vince operations. See City of Pasadena’s EPA Information

       Request Response, at pp.8-10 (Exh. E hereto); see also TCEQ Agreed Order (Exh. H

       hereto); see also 40 CFR 302.4 – Designation of Hazardous Substances (Exh. G hereto);

   •   As part of its NPDES permitting process, the City of Pasadena produced samples of

       effluents from Old Vince operations which showed that such effluents contained

       reportable quantities of at least aluminum, barium, chloroform, copper, 1,4-

       dichlorobenzene, nickel, phenols, toluene and zinc – all of which are hazardous

       substances as defined by CERCLA. See various City of Pasadena effluent date reports



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       from 1990, 1997 and 2001 (combined into Exh. I hereto); see also 40 CFR 302.4 –

       Designation of Hazardous Substances (Exh. G hereto);

   •   From 1944 until at least 1983, sludges that were generated by Old Vince operations were

       managed in drying beds placed directly on soils, allowing liquid in the sludges to either

       evaporate or infiltrate into the soils under the drying beds. See historical map of Old

       Vince drying bed locations (Exh. J hereto);

   •   Testing of the sludges generated by Old Vince during the following years showed that the

       historical sludges generated by Old Vince operations contain reportable quantities of at

       least barium, benzene, chromium, copper, cyanide, lead, lindane (gamma-BHC) #2,

       methyl ethyl ketone, nickel, phenols, selenum and zinc; 1998 – all of which are

       hazardous substances as defined by CERCLA. See various City of Pasadena sludge data

       reports from 1996, 1998 and 2000 (combined into Exh. K hereto); see also 40 CFR 302.4

       – Designation of Hazardous Substances (Exh. G hereto);

   •   The City of Pasadena left waste materials and sludges at the 200 N. Richey portion of the

       USOR Site from Old Vince operations, which contain the following hazardous

       substances: aluminum; arsenic; barium; cadmium; chromium; copper; lead; nickel;

       selenium; silver and zinc. See July 22, 2014 Report entitled “Old Vince Bayou

       Wastewater Treatment Plant Residual Materials Sampling” (Exh. L hereto); see also 40

       CFR 302.4 – Designation of Hazardous Substances (Exh. G hereto).

       Regarding the disposal of hazardous substances, CERCLA Section 101(29) defines

“disposal” as it is defined under the Resource Conservation Recovery Act, 42 U.S.C. §§ 6901 et

seq. See 42 U.S.C. § 9601(29). “Disposal” is defined broadly to mean:

       the discharge, deposit, injection, dumping, spilling, leaking, or placing of any
       solid waste or hazardous waste into or on any land or water so that such solid


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       waste or hazardous waste or any constituent thereof may enter the environment or
       be emitted into the air or discharged into any waters, including ground waters.

42 U.S.C. § 6903(3). The City of Pasadena’s own admissions to EPA, along with attendant

documents reproduced herein, demonstrate that several types of hazardous substances were

disposed of during the City of Pasadena’s ownership of the 200 N. Richey portion of the USOR

Site and 60 years of Old Vince operations, including 50 years of operation by the City of

Pasadena itself. Simply put, there is absolutely no reasonable basis for the City of Pasadena to

argue that no hazardous substances whatsoever were released from the 200 N. Richey portion of

the USOR Site at any time during 60 years of Old Vince operations.

       The City of Pasadena’s lack of cooperation with EPA and the USOR Site PRP Group

appears to be based on a single, misplaced argument. The City of Pasadena refuses to cooperate

based on its notion that the levels of hazardous substances released at various and multiple times

during 60 years of Old Vince operations were at or below “background levels.” See generally

City of Pasadena’s EPA Information Request Response (Exh. E hereto); City of Pasadena Feb.

20, 2014 Letter to EPA (Exh. F hereto). The USOR Site PRP Group has no obligation to prove

that certain hazardous substances attributable to the City of Pasadena are the same hazardous

substances currently being released or threatened to be released at the USOR Site, or that the

hazardous substances attributable to the City of Pasadena exceed some contaminant threshold.

See, e.g., Uniroyal Chemical Co., Inc., 160 F.3d at 242–43; Halliburton Energy Servs., Inc. v. NL

Indus., 648 F. Supp. 2d 840, 848 (S.D. Tex. 2009) (“Because CERCLA imposes strict liability,

plaintiffs generally do not need to prove that the defendant caused the contamination, only that

the defendant is a ‘covered person.’”) (citing OHM Remediation Servs. v. Evans Cooperage Co.,

Inc., 116 F.3d 1574, 1578 (5th Cir. 1997) and United States v. Alcan Aluminum Corp., 990 F.2d

711, 721 (2nd Cir. 1993)); United States v. Western Processing Co., Inc., 734 F. Supp. 930, 936



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(W.D. Wash. 1990) (plaintiff need not prove that the release was above background levels; the

principle that the law does not concern itself with trifles is not a defense to CERCLA liability);

United States v. Nicolet, Inc., 712 F. Supp. 1205, 1207 (E.D. Pa. 1989) (noting that, “as long as a

substance is on one or more of the lists identified at 42 U.S.C. § 9601(14), it is a hazardous

substance irrespective of the volume or concentration of the substance found at the site in

question”). Although the Fifth Circuit Court of Appeals has determined that whether a hazardous

substance exceeds “background levels” may be relevant to determining if there was a “release”

which caused the incurrence of response costs, Licciardi v. Murphy Oil U.S.A., Inc., 111 F.3d

396, 398–99 (5th Cir. 1997), this is irrelevant to the “covered person” question. See Asarco LLC,

21 F. Supp.3d at 803 (“[T]he only causation required under CERCLA is that the release of

hazardous substances at the ‘facility’ cause the response costs; a plaintiff does not need to prove

that the defendant’s waste caused the response costs . . .”) (internal citations omitted).

         In sum, the City of Pasadena can present no genuine dispute of material fact to dispute its

liability under CERCLA. The USOR Site PRP Group is entitled to judgment as a matter of law

as to the City of Pasadena’s CERCLA liability, with allocation of the City of Pasadena’s

reserved for a later date.

II.      The USOR Site PRP Group Is Entitled to Judgment as a Matter of Law on the City
         of Pasadena’s Liability under the TSWDA

         The City of Pasadena’s liability under the TSWDA is governed by Section 361.271(a)(2)

which defines “persons responsible for solid waste” to include, in relevant part, persons which

“owned or operated a solid waste facility at the time of processing, storage, or disposal of any

solid waste.” TEX. HEALTH & SAFETY CODE ANN. § 361.271(a)(2). Thus, to prevail on this

Motion, the USOR Site PRP Group need only demonstrate that the City of Pasadena (1) is a




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“person” which (2) owned or operated (3) a solid waste facility and that (4) solid waste was

processed, stored or disposed there during the time of ownership or operation.

       First, “person” is defined as “an individual, corporation, organization, government or

governmental subdivision or agency, business trust, partnership, association, or any other legal

entity.” Id. § 361.003(23). The City of Pasadena is a “person” under this definition.

       Second, the City of Pasadena owned and operated Old Vince. The City of Pasadena

admitted to EPA it owned the 200 N. Richey portion of the USOR Site from 1944 until U.S. Oil

Recovery purchased Old Vince in January 2009. See City of Pasadena’s EPA Information

Request Response at pp.1-2 (Exh. E hereto). This district has applied federal CERCLA

jurisprudence to interpret the meaning of “operator” under the TSWDA. Celanese Corp., v.

Coastal Water Auth., No. H-06-2265, 2008 WL 2697321, **2–3 (S.D. Tex. July 2, 2008) (citing

R.R. Street & Co. Inc. v. Pilgrim Enters., Inc., 166 S.W.3d 232, 242 (Tex. 2005). Under

CERCLA, an operator is “simply someone who directs the workings of, manages, or conducts

the affairs of a facility . . .” Celanese Corp., 2008 WL 2697321, at *3 (quoting Geraghty and

Miller, Inc. v. Conoco, Inc., 234 F.3d 917, 928 (5th Cir. 2000) (quoting United States v.

Bestfoods, 524 U.S. 51, 66–67 (1998))). The City of Pasadena admitted to EPA it was an

“operator” of Old Vince from 1944 to 1994. See City of Pasadena’s EPA Information Request

Response at pp.2-3 (Exh. E hereto).

       Third, Old Vince falls within the meaning of a “solid waste facility,” which is defined

broadly as:

       all contiguous land, including structures, appurtenances, and other improvements
       on the land, used for processing, storing, or disposing of solid waste. The term
       includes a publicly or privately owned solid waste facility consisting of several
       processing, storage, or disposal operational units such as one or more landfills,
       surface impoundments, or a combination of units.




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TEX. HEALTH & SAFETY CODE ANN. § 361.003(36) (emphases added). In turn, “storage” is

defined as “the temporary holding of solid waste, after which the solid waste is processed,

disposed of, or stored elsewhere.” Id. § 361.003(38). “Disposal” is defined, to mean:

        discharging depositing, injecting, dumping, spilling, leaking, or placing of solid
        waste or hazardous waste, whether containerized or uncontainerized, into or on
        land or water so that the solid waste or hazardous waste or any constituent thereof
        may be emitted into the air, discharged into surface water or groundwater, or
        introduced into the environment in any other manner.

Id. § 361.003(7). Finally “processing” is defined in relevant part as “the extraction of materials

from or the transfer, volume reduction, conversion to energy, or other separation and preparation

of solid waste for reuse or disposal . . . .” Id. § 361.003(25).

        Applying all of the definitions relevant to whether a facility is a “solid waste facility,”

Old Vince comprised “land, structures, appurtenances, and other improvements” at the 200 N.

Richey portion of the USOR Site, including two clarifiers, two oxygen digesters, an oxygen

activation sludge unit, an oxygen plant, a chlorination building, a lift station, a gravity thickener,

an aerobic digester, a belt filter press building, a pump control room, a chlorine contact tank

(basin/concrete containment area), a high-rate trickling filter, oil-water separator, primary

clarifier, final clarifier, and two lift stations. See Removal Action AOC, Findings of Fact “e.” at

p.5 (Exh. A hereto). During the City of Pasadena’s ownership of the 200 N. Richey portion of

the USOR Site and operation of Old Vince at that location, Old Vince was a sewage treatment

plant which received, processed, temporarily stored, and disposed of municipal wastewater, as

well as domestic sewage. See City of Pasadena’s EPA Information Request Response at pp.2-32

(Exh. E hereto). Therefore, Old Vince was a “solid waste facility” within the meaning of the

TSWDA.

        This wastewater and sludges processed, stored and disposed of at Old Vince are “solid

waste” within the meaning of the TSWDA, defined in relevant part as follows:


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       garbage, rubbish, refuse, sludge from a waste treatment plant, water supply
       treatment plant, or air pollution control facility, and other discarded material,
       including solid, liquid semisolid, or contained gaseous material resulting from
       industrial, municipal, commercial, mining, and agricultural operations and from
       community and institutional activities. The term:
               (A) does not include:
                      (i) solid or dissolved material in domestic sewage . . .
               (B) does include hazardous substances . . . .

Id § 361.003(34) and (35) (emphases added). Thus, definition of “solid waste” specifically

includes, but is not limited to, hazardous substances. Id. Consequently, the TSWDA imposes

even broader liability upon “persons responsible for solid waste” than CERCLA would impose

upon “responsible persons.”

       As explained in detail in the previous Section, the record is already replete with

admissions by the City of Pasadena and documents proving that at least some hazardous

substances were released and/or disposed of from Old Vince operations from 1944 to 2004. See

infra pp.9-11 (and citations to Exhibits hereto). The City of Pasadena cannot take refuge in the

“domestic sewage” exclusion. Texas courts interpret this to mean residential domestic sewage.

See Pilgrim Enters., 166 S.W.3d at 249 (applying federal district court’s reasoning in RCRA

case to TSWDA that if a hazardous substance entered the environment prior to mixing with

“sewage from residential sources,” it could not be “solid or dissolved material in domestic

sewage”) (internal citation omitted). Moreover, even if hazardous substances mingled in

residential wastewater fall within the domestic sewage exclusion, the definition of “solid waste”

specifically includes “sludge from a waste treatment plant” and “sludge from a water supply

treatment plant.” TEX. HEALTH & SAFETY CODE ANN. § 361.003(34) and (35).

       As with the City of Pasadena’s CERCLA liability, the City of Pasadena can present no

genuine dispute of material fact as to its liability under the TSWDA. The USOR Site PRP Group




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is entitled to judgment as a matter of law as to the City of Pasadena’s TSWDA liability, with

allocation of the City of Pasadena’s reserved for a later date.

III.    The Court can Determine Liability now and Allocate the City of Pasadena’s
        Equitable Share of Response Costs later

        Because of the complexity of CERCLA cases, courts generally bifurcate them into at

least two phases, determining liability first, and allocating liability later. See, e.g., Amoco Oil Co.

v. Borden, Inc., 889 F.2d 664, 667 (5th Cir. 1989) (summarizing cases); GenCorp, Inc. v. Olin

Corp., 390 F.3d 433, 441 (6th Cir. 2004) cert denied 546 U.S. 935 (2005) (reviewing district

court case in three-phase CERCLA trial which determined liability in Phase I, allocated liability

percentages in Phase II and assigned a dollar amount to the percentages in Phase III).

“Bifurcation and the use of summary judgment provide efficient approaches to these cases by

narrowing the issues at each phase, by avoiding remedial questions if no liability attaches, and by

potentially hastening remedial action or settlement discussions once liability is determined.”

Amoco Oil Co., 889 F.2d at 667–68. The Texas Supreme Court has determined that guidelines

developed in federal CERCLA cases are “faithful to the statutory language and purposes of

[T]SWDA.” Celanese Corp., v. Coastal Water Auth., No. H-06-2265, 2008 WL 2697321, *4

(S.D. Tex. July 2, 2008) (citing R.R. Street & Co. Inc. v. Pilgrim Enters., Inc., 166 S.W.3d 232,

242 (Tex. 2005)). Therefore, bifurcation is equally appropriate as to the USOR Site PRP Group’s

CERCLA and TSWDA causes of action. As demonstrated above, there is no question that the

City of Pasadena is liable as an owner or operator under both CERCLA and the TSWDA, and

this Court should enter an order granting this Motion for Partial Summary Judgment as to

liability, with allocation reserved for a later phase of trial.

        Such a result is also important at this stage of the USOR Site and this litigation because

the City of Pasadena’s continued lack of cooperation with EPA and the USOR Site PRP Group



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continues to cause problems at the USOR Site. With the recent record flooding in Texas and the

USOR Site area, EPA and the USOR Site PRP Group continue to attempt to convince the City of

Pasadena to cooperate since the City of Pasadena and its present and former employees may

possess unique knowledge as to the workings of the Old Vince buildings and piping system,

which could help control the adverse effects from the flooding. The City of Pasadena may be

willing to finally cooperate with EPA and the USOR Site PRP Group once it understands that its

reasons for refusing to cooperate are not viable defenses to liability under CERCLA and/or the

TSWDA.

                                          CONCLUSION

         For the foregoing reasons, Plaintiff USOR Site PRP Group respectfully requests the

Court grant the USOR Site PRP Group partial summary judgment as to the City of Pasadena’s

liability at the USOR Site under CERCLA and the TSWDA, and for such other and further relief

as the Court deems just and appropriate under the circumstances. A proposed Court Order to this

effect is attached hereto as Exhibit M.

Dated:    July 20, 2015                      Respectfully submitted,

                                             THE JUSTIS LAW FIRM LLC


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                                  CERTIFICATE OF SERVICE

       I hereby certify that on July 20, 2015, a copy of the foregoing Plaintiff’s Motion for

Partial Summary Judgment against Defendant City of Pasadena, Texas was filed electronically.

Notice of this filing will be sent to all parties by operation of the Court’s electronic filing system.

Parties may access the filing through the Court’s Electronic Case Filing System.

                                               /s/ Gary D. Justis
                                               Gary D. Justis




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